
351 S.W.3d 783 (2011)
J.W., Appellant,
v.
E.S., Respondent.
No. ED 94921.
Missouri Court of Appeals, Eastern District, Division Three.
August 30, 2011.
Application for Transfer to Supreme Court Denied October 11, 2011.
Application for Transfer Denied December 6, 2011.
Gary E. Brotherton, Columbia, MO, for Appellant.
Diane C. Howard, Cape Girardeau, MO, for Respondent.
Before ROBERT G. DOWD, JR. P.J. and MARY K. HOFF and SHERRI B. SULLIVAN, JJ.

ORDER
PER CURIAM.
J.W. ("Father") appeals from the judgment requiring him to pay child support to E.S. Father asserts the trial court erred in imputing monthly income to Father in the amount of $4,416 and in not using a 34 percent adjustment with the equal division of custody.
We have reviewed the briefs of the parties and the record on appeal and find the claims of error to be without merit. An opinion reciting the detailed facts and restating principles of law would have no precedential value. The parties have been furnished with a memorandum for their *784 information only, setting forth the reasons for this order. The judgment is affirmed in accordance with Rule 84.16(b).
